Case
 Case1:21-md-02989-CMA
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                                             SCHEDULE B

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

                   CERTIFICATE OF UNDERSTANDING REGARDING
             ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA
                 Roy T. Willey IV
            I, _____________________________________, the undersigned, do hereby certify that:
                                                              South Carolina
            1. I am a member of good standing of the Bar of ________________________________.

           2. I have studied, understand, and will abide by the Local Rules for the Southern District
   of Florida.

        3. I have studied, understand, and will abide by the Administrative Procedures governing
   CM/ECF procedures in the Southern District of Florida.

          4. I will only use this electronic filing privilege in the matter captioned above and in no
   other case in the Southern District of Florida, even if I have been granted pro hac vice status in
   another case in the Southern District of Florida.

           5. I understand and agree that any misuse of this electronic filing privilege will be brought
   to the attention of the Honorable Cecilia M. Altonaga and that this privilege may be revoked at
   any time without notice.

           6. If any of the information below changes during the course of this action, I shall file a
   notice of such change in the MDL action, and I shall update my CM/ECF user account pursuant
   to the Administrative Procedures.

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